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                                IN THE UNITED STATES DISTRICT COURT

                                    FOR THE DISTRICT OF OREGON



BANETTE PROPERTIES LLC,                             )
                                                    )         Civil No. 03:15-cv-01344-PK
                                   Plaintiff(s),    )
                                                    )         ORDER OF DISMISSAL
                        V.                          )
                                                    )
AMCO INSURANCE COMPANY,                             )
                                                    )
                                   Defendant(s).    )


       IT IS ORDERED that the parties' Stipulated Motion for Dismissal [21] is GRANTED and

this action is DISMISSED with prejudice and without costs to either party. Pending motions, if any,

are DENIED AS MOOT.

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       Dated this _u_-__'--day of July, 2016.



                                                              Paul Papak
                                                              United States Magistrate Judge
